                          IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                   WESTERN DIVISION

                                               No. 5:19-CV-235-FL

 AARON POWELL, Individually and on                     )
 behalf of all others similarly situated,              )
                    Plaintiff,                         )
                                                       )             INITIAL ORDER REGARDING
      v.                                               )            PLANNING AND SCHEDULING
                                                       )
 ABBOTT LABORATORIES, INC. and                         )
 ST. JUDE MEDICAL S.C., INC.                           )
               Defendants



         This case has been assigned to the docket of Judge Louise W. Flanagan. Pursuant to Federal

Rule of Civil Procedure 26(f), the court sets the following deadlines and requirements for conference

activities, initial disclosures, and for submission of the parties’ joint status report and proposed plan

for discovery.

I.       Rule 26(f) Conference

           Unless good cause is shown in request for exemption or stay, and the court orders

otherwise, the Rule 26(f) conference must occur on or before 21 days from entry of this order.

The parties are jointly responsible for arranging the conference, which shall involve counsel for each

represented party and all unrepresented parties, and for attempting in good faith to agree on a

proposed plan for completion of discovery, filing of motions, pretrial and trial activities, and other

matters addressed in this order.1




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         In matters involving patent claims the parties shall address at the Rule 26(f) conference those issues raised by
Local Patent Rule 302.1(a).




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II.    Initial Disclosures

       Mandatory initial disclosures required by Rule 26(a)(1) must be made within 14 days

after the Rule 26(f) conference, unless (a) a different time is set by stipulation of parties or court

order, or (b) a party objects during the Rule 26(f) conference and states the objection and the

response thereto in the report and plan filed with the court. Absent a stipulation or court order, any

party first served or otherwise joined after the conference must make these disclosures within 30

days after being served or joined. Failure to disclose information required by Rule 26(a) or 26(e)(1)

may subject the offending party or parties to sanctions pursuant to Rule 37. In order to facilitate

settlement negotiations and to avoid unnecessary expense, the parties may agree that, without any

need for formal requests for production, copies of the various documents and/or electronically stored

information described in the parties’ respective Rule 26(a)(1) disclosures shall be exchanged or

made available for inspection and copying by a date certain.

III.   Joint Report and Plan

       The report and plan shall be filed with the court within 14 days after the conference.

The report and plan shall inform of the date on which the Rule 26(f) conference took place, and

persons participating therein. The following must be considered at the Rule 26(f) conference and

included in the report and plan:




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         A.       Discussion of the nature and complexity of the case.2 This shall be presented in the

                  form of a brief statement which contains information from all parties and presents

                  their respective positions including:

                  1.        The asserted basis for the court’s subject matter jurisdiction;

                  2.        The most important or key factual issues and legal issues that are believed to

                            be involved in the case; and

                  3.        A breakdown of damages sought.

         B.       Specific information concerning the parties’ plan for proposed discovery, including:3

                  1.        The subjects on which discovery may be needed;

                  2.        Whether discovery shall be conducted in phases and/or limited to or focused

                            upon particular issues;

                  3.        The categories of discovery to be utilized by the parties, and proposed

                            limitations. Where any proposed limitation is different from that imposed by

                            the Federal Rules of Civil Procedure and/or the court’s Local Rules, specific

                            reason therefor shall be set forth;



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          Routine cases generally subscribe to a track which permits disposition within 12 to 14 months after the filing
of the complaint, where parties are joined within two months after conference, any amendments to pleadings as of right
or subject to motion are made within two months, initial motions to dismiss are made within three months after
conference, all discovery is completed within six to eight months after conference, and dispositive motions filed within
one month after the close of discovery, also in accordance with Local Civil Rule 7.1(a). A complex case subscribes to
an extended track, taking into consideration large numbers of parties, large numbers of claims and defenses, highly
technical issues and proof, multiple experts, greater than normal amounts of documents and evidence, and/or necessity
for an extended period of discovery. A complex case contemplates trial within 16 to 18 months of the filing of the
complaint.
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           In matters involving patent claims, the parties shall also include in their Joint Report and Plan all issues and
scheduling matters raised by the Local Patent Rules. Specifically, the parties shall include dates by which the various
disclosures and contentions required to be filed by the Local Patent Rules shall be submitted or exchanged. If the parties
seek any alteration in the deadlines established by the Local Patent Rules, they shall include such requested alterations
in their joint report.

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   4.    Whether there are any issues relating to disclosure or discovery of

         electronically stored information, including issues as to the form(s) in which

         such information shall be produced;

   5.    Whether there are any issues relating to claims of privilege or protection as

         trial-preparation material. The parties shall specify whether they wish to

         obtain by consent a court order memorializing the parties’ agreement

         regarding 1) inadvertent disclosures, pursuant to Fed. R. Evid. 502(d); or 2)

         privilege log protocols, such as automated logs, exemptions for documents

         created after litigation commences, or criteria for expanded log entries. In the

         event the parties seek a court order regarding inadvertent disclosures or

         privilege logs, the parties shall propose consent order language in their joint

         report and plan.

   6.    When the need for a Rule 30(b)(6) deposition is known early in the case, the

         Rule 26(f) conference may provide an occasion for beginning discussion

         between the parties regarding the number and description of matters for

         examination and the identity of persons who will testify. At the same time,

         it may be productive to discuss other matters, such as having the serving

         party identify in advance of the deposition the documents it intends to use

         during the deposition, thereby facilitating deposition preparation. In

         appropriate cases, it may be helpful to include reference to Rule 30(b)(6)

         depositions in the discovery plan submitted to the court under Rule 26(f) and

         in the matters considered at a pretrial conference under Rule 16. The court


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               encourages the parties to memorialize in Rule 26(f) report any agreements for

               purposes of streamlining Rule 30(b)(6) depositions.

        7.     The date on which all discovery shall be concluded (not the last date of

               issuance; rather, this date sets the discovery bar date); and

        8.     Whether any particular discovery problems are anticipated.

C.      Proposed deadlines in addition to the deadline for discovery mentioned above,

        including for:

        1.     Disclosure of expert witness information where appropriate;

        2.     Joining additional parties;

        3.     Amending pleadings; and

        4.     Filing of all motions, including preliminary and dispositive ones (except

               motions in limine). The court shall be advised whether there are preliminary

               matter(s) which may require early disposition.

D.      The possibility of settlement and the parties’ information concerning which ADR

        method (mediation, arbitration, summary trial, or other) is appropriate together with

        the proposed deadline for its completion. Local Civil Rule 101; see Local Civil

        Rules 101.1, 101.2, 101.3 for alternative ADR procedures.

        1.     Absent special considerations, a settlement procedure appropriate to a

               particular case shall be used in every civil action in advance of the final

               pretrial conference.

E.      The parties’ position on whether a magistrate judge may conduct all proceedings,

        including trial and entry of judgment, pursuant to 28 U.S.C. 636(c) (including entry


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                  of final judgment, with any appeal directly to the Fourth Circuit Court of Appeals),

                  and Local Rule 73.1. Answer Yes or No only. Where there is assent, this agreement

                  shall require that each party through respective counsel and any party appearing pro

                  se MUST sign the report and plan, as this constitutes the parties’ consent to referral

                  of the case to a full-time magistrate judge.

         F.       Whether either party requests that a Rule 16(b) FED. R. CIV. P., pretrial conference

                  be scheduled in the case, prior to entry by the court of its case management order.

         G.       Absent request for a Rule 16(b) pretrial conference at this juncture in the case, a case

                  management order shall be entered immediately after receipt and consideration of the

                  parties’ joint report and plan, and the issues raised in the pleadings. Case deadlines

                  established among the terms of the order will not be altered by the court absent

                  extenuating circumstances.4

         H.       If another case is pending of or relating to the instant matter, raising potential issues

                  of consolidation or assignment, the report also shall provide notice of this. The

                  parties shall identify the other case(s), and provide their position as to whether

                  consolidation of the actions is or may become appropriate, and/or whether

                  assignment now of related cases to a single judge is likely to result in administrative

                  efficiencies.

         I.       Any scheduling issue affecting counsel or a party.                      This report affords the

                  opportunity to announce compelling personal or professional considerations, as


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              Upon decision by the court on any dispositive motion, a trial date certain will be set by separate order
entered after opportunity is accorded the parties to inform more particularly on trial scheduling. Said supplemental case
management order will instruct also on pretrial procedures necessary to be followed in a bench or jury trial. Ordinarily,
a final pretrial conference will be set approximately two weeks prior to the start of trial.

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                appropriate, which may affect the scheduling or course of proceedings.

        If the parties have made a good faith attempt to confer and submit a joint discovery plan, but

have been unable to do so, the parties shall file separate plans within the allotted time period, each

of which must include the parties’ respective positions and information as would be included in a

joint report.

        SO ORDERED, this the 9th day of July, 2019.



                                               LOUISE W. FLANAGAN
                                               United States District Judge




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